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    COMPOSITE
      EXHIBIT 4
  (Filed Under Seal)
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                                                                     1


                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF NEW YORK

                                        CASE: 15-cv-07433-RWS

     VIRGINIA GIUFFRE,

               Plaintiff,

     v.

     GHISLAINE MAXWELL,

             Defendant.
     ____________________/

                    VIDEOTAPED DEPOSITION OF TONY FIGUEROA

                                    Volume 1 of 2

                                    Pages 1 - 157



                    Taken at the Instance of the Defendant



          DATE:             Friday, June 24, 2016

          TIME:             Commenced:     8:59 a.m.
                            Concluded:     1:22 p.m.
          PLACE:            Southern Reporting Company
                            B. Paul Katz Professional Center
                            (SunTrust Building)
                            One Florida Park Drive South
                            Suite 214
                            Palm Coast, Florida 32137

          REPORTED BY:      LEANNE W. FITZGERALD, FPR
                            Florida Professional Reporter
                            Court Reporter and Notary Public


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                                                                     96
 1              Q     I guess my question is:          Did she ever tell
 2       you that she had started as a regular masseuse for
 3       him and then transitioned to something other than a
 4       masseuse?
 5              A     No.    She never said that it transitioned.
 6       But she ended up explaining to me what had happened
 7       before, so...
 8              Q     What has -- what is that?
 9              A     That her and Ms. Maxwell and Jeffrey would
10       obviously be doing stuff, all three of them
11       together.      Like I said, that they would all go out
12       to clubs to pick up girls and try and find them to
13       bring back for Jeffrey.          And then she told me about
14       how, like I said, her and Ms. Maxwell and Jeffrey
15       were all intimate together on multiple occasions.
16              Q     When did she tell you this?
17              A     I'm not exactly sure on the dates.
18              Q     Was it while you were still together?
19              A     Yes.
20              Q     Did you -- had you met Ms. Maxwell?
21              A     Yeah, I had met her a couple of times.
22              Q     When did you meet Ms. Maxwell?
23              A     Dates, I'm unsure of.         But it was pretty
24       much, like I said, at Jeffrey's house in the
25       kitchen.

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 1              Q     Was it earlier in the time you were with
 2       her, or...
 3              A     It was about -- I'd say about six months
 4       or so.     I don't know.      I'm not exactly positive.
 5              Q     All right.      So at the time you met
 6       Ms. Maxwell, had Ms. Roberts already told you that
 7       she had been intimate?
 8              A     No.    She had told me about that, I
 9       believe, after I had max- -- after I had already met
10       her.
11              Q     Okay.    And tell me everything that you
12       remember about what Ms. Roberts said about being
13       intimate with Ms. Maxwell and Mr. Epstein at the
14       same time.
15              A     I remember her talking about, like,
16       strap-ons and stuff like that.            But, I mean, like I
17       said, all the details are not really that clear.
18       But I remember her talking about, like, how they
19       would always be using and stuff like that.
20              Q     She and Ms. Maxwell and Mr Epstein would
21       used strap-ons?
22              A     Uh-huh (affirmative).
23              Q     How did you feel about that?
24              A     I just -- obviously not happy about it.
25              Q     What did you say?

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 1              A     I did not.
 2              Q     When the FBI interviewed you, did you
 3       mention this to them?
 4              A     I mentioned -- anything they asked me, I
 5       did not hold anything back.
 6              Q     Okay.    Do you recall specifically talking
 7       about sex with the Prince?
 8              A     I -- I don't recall talking to them about
 9       that, but, I mean, it's -- it could be possible.
10              Q     Other than sex with the Prince, is there
11       anyone else that Jeffrey wanted Ms. Roberts to have
12       sex with that she relayed to you?
13              A     Mainly, like I said, just Ms. Maxwell and
14       all the other girls.
15              Q     Ms. Maxwell wanted -- Jeffrey wanted
16       Virginia to have sex with Ms. Maxwell?
17              A     And him, yeah.
18              Q     And did she tell you whether she had ever
19       done that?
20              A     Yeah.    She said that she did.
21              Q     And when did she tell you that?
22              A     I'm not sure on the date.
23              Q     And what did she describe having happened?
24              A     I believe I already told you that.             With
25       the strap-ons and dildos and everything.

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 1                    MS. MENNINGER:       Objection.      Form.
 2              Foundation.
 3              A     For Jeffrey.
 4       BY MR. EDWARDS:
 5              Q     All right.      Let me fix this.       Ghislaine --
 6       when Ghislaine Maxwell would call you during the
 7       time that you were living with Virginia, she would
 8       ask you what, specifically?
 9                    MS. MENNINGER:       Objection.      Form.
10              Foundation.
11              A     Just if I had found any other girls just
12       to bring to Jeffrey.
13       BY MR. EDWARDS:
14              Q     Okay.
15              A     Pretty much every time there was a
16       conversation with any of them, it was either asking
17       Virginia where she was at, or asking her to get
18       girls, or asking me to get girls.
19              Q     All right.      Let's go to that second
20       category you just identified, which is asking
21       Virginia to get girls.         How many times were you in a
22       room where specifically Ghislaine Maxwell would ask
23       Virginia to bring girls?
24              A     None that I can recall.
25              Q     Okay.    How many times -- when you say they

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